       Case 2:14-cr-00120-SMJ           ECF No. 323        filed 03/06/17      PageID.1473 Page 1 of 3
 PROB 12C                                                                               Report Date: March 6, 2017
(6/16)

                                       United States District Court                              FILED IN THE
                                                                                             U.S. DISTRICT COURT
                                                                                       EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                        Mar 06, 2017
                                        Eastern District of Washington                      SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Alycia Jean Scott                        Case Number: 0980 2:14CR00120-SMJ-3
 Address of Offender:                                 , Washington 99201
 Name of Sentencing Judicial Officer: The Honorable Salvador Mendoza, U.S. District Judge
 Date of Original Sentence: August 25, 2015
 Original Offense:           Misprision of a Felony, 18 U.S.C. § 4
 Original Sentence:          Prison - 6 months              Type of Supervision: Supervised Release
                             TSR - 12 months

 Revocation Sentence:        Prison - 4 months
 October 4, 2016             TSR - 8 months
 Asst. U.S. Attorney:        Alison L. Gregoire             Date Supervision Commenced: January 22, 2017
 Defense Attorney:           Federal Defenders Office       Date Supervision Expires: September 21, 2017


                                         PETITIONING THE COURT

                To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            1           Special Condition # 19: Defendant shall abstain from the use of illegal controlled
                        substances, and shall submit to urinalysis testing (which may include urinalysis or sweat
                        patch), as directed by the supervising officer, but no more than 6 tests per month, in order
                        to confirm continued abstinence from these substances.

                        Supporting Evidence: On February 9, 2017, the offender submitted a urinalysis test at the
                        United States Probation Office that tested presumptive positive. Lab results revealed a
                        confirmed positive result for amphetamine, codeine, methamphetamine, and morphine.


            2           Special Condition # 19: Defendant shall abstain from the use of illegal controlled
                        substances, and shall submit to urinalysis testing (which may include urinalysis or sweat
                        patch), as directed by the supervising officer, but no more than 6 tests per month, in order
                        to confirm continued abstinence from these substances.
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                       Supporting Evidence: On February 16 and 22, 2017, the offender failed to report to Alcohol
                       Drug Education Prevention and Treatment (ADEPT) to submit a random urinalysis test. On
                       March 1, 2017, the offender advised the undersigned that she had no excuse for missing the
                       tests and did not contest that she failed to appear for either test.
          3            Special Condition # 19: Defendant shall abstain from the use of illegal controlled
                       substances, and shall submit to urinalysis testing (which may include urinalysis or sweat
                       patch), as directed by the supervising officer, but no more than 6 tests per month, in order
                       to confirm continued abstinence from these substances.

                       Supporting Evidence: On February 21, 2017, the offender reported to the Spokane
                       Residential Reentry Center (RRC) and tested presumptive positive at the time of intake for
                       amphetamine, THC, methamphetamine, and opiates. On March 1, 2017, the offender made
                       a verbal admission to the undersigned that she had consumed both heroin and
                       methamphetamine on February 20, 2017, the day before RRC placement.
          4            Special Condition # 19: Defendant shall abstain from the use of illegal controlled
                       substances, and shall submit to urinalysis testing (which may include urinalysis or sweat
                       patch), as directed by the supervising officer, but no more than 6 tests per month, in order
                       to confirm continued abstinence from these substances.

                       Supporting Evidence: On March 6, 2017, the undersigned was advised by the RRC that the
                       offender had tested presumptive positive for opiates. Staff at the RRC additionally advised
                       the undersigned that the offender had made an admission to consuming heroin.
          5            Special Condition # 23: You must reside in a residential reentry center (RRC) for a period
                       up to 180 days at the direction of the supervising officer. Your participation in the programs
                       offered by the RRC is limited to employment, education, treatment, and religious services
                       at the direction of the supervising officer. The defendant shall abide by the rules and
                       requirements of the facility.

                       Supporting Evidence: On March 6, 2017, the undersigned was advised by staff at the RRC
                       that baggies containing suspected drug residue had been found in the offender’s property.
                       Staff at the RRC additionally advised the undersigned that the offender had made an
                       admission to sneaking illicit substances into the RRC and using illicit substances at the RRC
                       facility. Staff at the RRC also stated that the suspected residue in the baggies had tested
                       positive for heroin. The RRC has terminated the offender’s placement due to the
                       noncompliance.

The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the offender to answer
the allegations contained in this petition.



                                          I declare under penalty of perjury that the foregoing is true and correct.
                                                            Executed on:      03/06/2017
                                                                              s/Charles J. Kuipers
                                                                              Charles J. Kuipers
                                                                              U.S. Probation Officer
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 THE COURT ORDERS

 [ ]      No Action
 [X ]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      Other

                                                               Signature of Judicial Officer

                                                                  03/06/2017
                                                               Date
